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12
                             UNITED STATES DISTRICT COURT
13
           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
14
15
16    SECURITIES AND EXCHANGE                      Case No. 18-4315 DSF (JPRx)
      COMMISSION,
17                                                 FIRST INTERIM FEE APPLICATION
18                   Plaintiff,                    OF HOLLAND & KNIGHT LLP, AS
                                                   COUNSEL TO RECEIVER, FOR
19            vs.                                  ALLOWANCE OF COMPENSATION
                                                   AND REIMBURSEMENT OF
20    TITANIUM BLOCKCHAIN                          EXPENSES; CERTIFICATION OF
      INFRASTRUCTURE SERVICES,                     COUNSEL IN SUPPORT THEREOF;
21    INC.; EHI INTERNETWORK AND                   [PROPOSED] ORDER
22    SYSTEMS MANAGEMENT, INC.
      aka EHI-INSM, INC.; and MICHAEL              [FRCP 66; L.R. 66-7]
23    ALAN STOLLERY aka MICHAEL
      STOLLAIRE,                                   Date:    Mon., April 1, 2019
24                                                 Time:    1:30 pm
                     Defendants.                   Ctrm:    7D
25
                                                   Judge:   Hon. Dale S. Fischer
26
27
28
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1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE that on Monday, April 1, 2019, at 1:30 p.m., or as soon
3    thereafter as the matter may be heard before the Honorable Dale S. Fischer, in Courtroom
4    7D of the United States District Court, Central District of California, Western Division,
5    350 West 1st Street, 6th Floor, Los Angeles, California, 90012, Holland & Knight LLP
6    (“Counsel” or “H&K”), counsel to Josias Dewey, as Court-appointed Receiver (the
7    “Receiver”) for the estates of Defendant Titanium Blockchain Infrastructure Services, Inc.
8    and its subsidiaries and/or affiliates (collectively, the “Receivership Entities”), will and
9    hereby does submit this first interim fee application (the “Application”).
10         This Application is submitted pursuant to paragraphs XI(F) and XVII of this Court’s
11   Order Appointing Permanent Receiver, entered May 30, 2018 (the “Permanent
12   Receivership Order”), Rule 66 of the Federal Rules of Civil Procedure, and Local Rule
13   66-7. This Application is made following the conference of counsel pursuant to Local
14   Rule 7-3 which took place on and before Friday, February 15, 2019.
15         This Application is based upon this Notice of Application and Application, the
16   attached Memorandum of Points and Authorities and Certification of Counsel, all papers
17   and records on file herein, and such other matters as may be presented to the Court at or
18   before the hearing on this Application.
19
20   Dated: February 28, 2019               Respectfully submitted,
21                                          /s/ Jose Casal
                                            Jose Casal (pro hac vice)
22
                                            Kristina S. Azlin (SBN 235238)
23                                          Holland & Knight LLP
                                            Counsel for Josias N. Dewey, Court-appointed
24                                          permanent receiver for Defendant Titanium
25                                          Blockchain Infrastructure Services, Inc.
26
                                            Attorneys for Josias Dewey, Court-appointed
27                                          Receiver for Receivership Entities
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1           FIRST INTERIM FEE APPLICATION OF HOLLAND & KNIGHT LLP,
2                        AS COUNSEL TO RECEIVER, FOR ALLOWANCE OF
3                   COMPENSATION AND REIMBURSEMENT OF EXPENSES
4             Pursuant to paragraphs XI(F) and XVII of this Court’s Order Appointing Permanent
5    Receiver, entered May 30, 2018 (the “Permanent Receivership Order”), Rule 66 of the
6    Federal Rules of Civil Procedure, and Local Rule 66-7, Holland & Knight LLP (“Counsel”
7    or “H&K”), counsel to Josias Dewey, as Court-appointed Receiver (the “Receiver”) for
8    the estates of Defendant Titanium Blockchain Infrastructure Services, Inc. and its
9    subsidiaries and/or affiliates (collectively, the “Receivership Entities”), hereby submits
10   this first interim fee application (the “Application”).
11            In support of this Application, H&K respectfully states the following:
12                                I.   SUMMARY OF FEE REQUEST
13            1.        This initial fee application covers the period from the Receiver’s initial
14   appointment on May 23, 2018 through June 22, 2018 (the “First Application Period”) and
15   is submitted in accordance with the Permanent Receivership Order, the Local Rules of this
16   Court, and the Billing Instructions for Receivers in Civil Actions Commenced by the
17   United States Securities and Exchange Commission (the “Billing Instructions”).
18            2.        Through this Application, H&K seeks approval of $52,828.49 in fees and
19   $72,171.511 in expenses, for a total of $125,000, pursuant to the fee cap applicable to the
20   first thirty (30) days of the receivership (the “Fee Cap”).2
21                      II.   STANDARDIZED FUND ACCOUNTING REPORT
22            3.        Attached as Exhibit A is the Standardized Fund Accounting Report (SFAR)
23   for the Receivership Entities for the period from May 30, 2018 through December 31,
24
25   1
       These expenses include $66,451.25 for forensic services rendered by Kroll Cyber Security and
26   invoiced to H&K.
     2
       H&K actually incurred $144,369.52 in fees and $72,171.51 in expenses, for a total of
27   $216,541.03, during the First Application Period, but is limiting this application to $125,000
     pursuant to the Fee Cap. H&K does not intend to make an application for the remaining $91,541.03
28   in fees incurred over the Fee Cap.
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1    2018 (the “SFAR Reporting Period”).3
2                                               III.      CASE STATUS
3               4.        Cash On Hand: The amount of cash on hand in the Receiver’s bank account
4    is $115,566.70 as of the end of the most recent SFAR Reporting Period (December 31,
5    2018). These funds were received by (i) taking control of the US Bank bank account held
6    by Titanium Blockchain Infrastructure Services, Inc. (“TBIS”) ($58,583.45), and (ii)
7    taking control of the JPMorgan Chase bank account held by TBIS ($252,208.40).
8               5.        Other Assets: In addition to the cash on hand listed above, the Receiver has
9    also taken possession, or has caused third party custodians to freeze, the following assets:
10             Asset
                                Units (if    Unit Value (as      Aggregate Value      Unit Value (as   Aggregate Value
                               applicable)   of 12/31/2018)      (as of 12/31/2018)   of 02/26/2019)   (as of 02/26/2019)
11       Bitcoin (BTC)              151.78    $3,819.740000            $579,760.14         $3,848.09          $584,063.10
         Bitcoin Cash
12       (BTH)
                               95.12103983      $159.890000             $15,208.90          $133.13            $12,663.46

13       Bitcoin SV            95.12103983       $87.450000               $8,318.33          $69.14             $6,576.67
         Ether (ETH)           2156.288899      $136.820000            $295,023.45          $136.19           $293,664.99
14       Litecoin (LTC)        4972.997747       $31.340000            $155,853.75           $45.40           $225,774.10
15       Zcash (ZEC)                7.9046       $58.600000                $463.21           $52.16               $412.30
         Dash (DASH)           66.59959886       $81.610000               $5,435.19          $82.33             $5,483.14
16       Electroneum
                               21035513.98           $0.007486         $157,471.86             $0.01          $146,428.21
         (ETN)
17       Computer
         equipment,
18       televisions, phones
                                                                          $5,000.00                             $5,000.00
         (est)
19
                                             Total                   $1,217,534.83                          $1,275,065.98
20
21              6.        The Receiver has established multiple cryptocurrency wallets to hold the
22   cryptocurrencies listed above and is either (i) in possession of the private keys associated
23   with these wallets, or (ii) has caused a third party custodian to freeze such assets. Based
24   on values taken from a market aggregator, the value of the cryptocurrency assets is
25   approximately $1,275,065.98 as of February 27, 2019 and $1,217,534.83 as of the end of
26
27   3
       While the First Application Period only includes the first thirty days of the receivership in order
     to demonstrate compliance with the Fee Cap, the SFAR Reporting Period runs through the end of
28   the most recent quarter, providing a more accurate and complete picture of the current case status.
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1    the SFAR Reporting Period (December 31, 2018). This figure should be taken with
2    caution because the value of cryptocurrency assets fluctuates rapidly, and the markets for
3    some cryptocurrencies can be opaque and illiquid, and subject to market manipulation.
4    Furthermore, some assets, like Electroneum (ETN), may constitute unregistered securities,
5    making it difficult, or impossible, for the Receiver to liquidate to fiat currency.
6           7.        The Receiver anticipates filing a motion to seek authorization from the Court
7    to liquidate the assets listed above before he files the next status report.
8           8.        Expenses: The Receiver has incurred administrative expenses as a result of
9    his efforts to marshal and preserve the assets of the Receivership. For the First Application
10   Period as well as the remainder of the SFAR Reporting Period, these expenses were
11   advanced by H&K and by Kroll, as set forth in attached Exhibit E. Lastly, after the
12   Receivership Entities’ assets were frozen, several of TBIS’s payroll payments, initiated
13   from US Bank, were mistakenly reversed. The Receivership, throughout the SFAR
14   Reporting Period, has worked to compensate those employees and contractors whose
15   payroll payments were mistakenly reversed as well as those employees who assisted the
16   Receiver after the Receivership was established, and, as a result, the Receivership has
17   incurred payroll expenses, and transactional costs related thereto, including wire fees, in
18   the approximate amount of $195,225.13.
19          9.        Creditor Claims: Given that no determination of liability has been made at
20   this time, the Receiver has not promulgated a formal claims procedure or determined the
21   validity of any possible creditor claims. However, the Receiver has established an informal
22   claims process, published on the Receiver’s website, through which it has received, and
23   tracked, several hundred inquiries and claims. The Receiver is still evaluating the investor
24   contributions made to TBIS based upon information collected from computers and servers
25   and also from the information provided by people who have contacted the Receiver via its
26   informal claims process. At present, the total number of investor claims is unknown but
27   will likely be in the several thousands.
28          10.       The Receiver is working on formulating a creditor claims process, including
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1    procedures for (i) confirming the claims received through its informal claims process, (ii)
2    providing notice to potential claimants who have not yet inquired; (ii) receiving and
3    reviewing claims, (iii) recommending to the court procedures for establishing and
4    determining the amount of allowed claims, and (iv) the distribution of allowed claims to
5    investors. To date, the Receiver has not disbursed any funds to any investors and is
6    awaiting confirmation of a determination of liability of the Defendants before disbursing
7    any funds to investors.
8           11.       The Receiver has been negotiating with additional third parties, as well as the
9    Defendant, with respect to certain cryptocurrency assets that were transferred from a
10   wallet owned by TBIS to a wallet owned by a third-party and hosted by Coinbase. The
11   cryptocurrency is the property of TBIS and therefore should be transferred to the
12   Receivership. The Receiver has successfully negotiated with all third-parties involved,
13   including Defendant, to enter into a stipulation releasing the cryptocurrency to the
14   Receivership. The Receiver intends to file a written stipulation shortly and anticipates that
15   this issue will be resolved before the hearing date on this Application.
16          12.       The Receiver has filed a notice of receivership in all relevant jurisdictions
17   where assets of the Receivership are believed to be located. In addition, as a precaution,
18   the Receiver has filed a notice of receivership in a large number of other jurisdictions.
19                                      IV.    BACKGROUND
20          13.       On May 22, 2018, the Securities and Exchange Commission filed a complaint
21   against Defendants Titanium, EHI Internetwork and Systems Management, Inc., also
22   known as EHI-INSM, Inc., and Michael Alan Stollery, also known as Michael Stollaire,
23   along with an application for the appointment of a receiver for the Receivership Entities.
24   After reviewing the application, the Court concluded that the appointment of a receiver in
25   this action was necessary and appropriate for the purposes of marshaling and preserving
26   all assets, tangible and intangible, that are owned, controlled or possessed by the
27   Receivership Entities.
28          14.       Accordingly, on May 23, 2018, the Court entered the Temporary Restraining
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1    Order (the “TRO”) and Orders (1) Freezing Assets; (2) Prohibiting the Destruction or
2    Alteration of Documents; (3) Granting Expedited Discovery; (4) Requiring Accountings;
3    and (5) Appointing a Temporary Receiver (the “Temporary Receivership Order”),
4    appointing Josias N. Dewey as temporary receiver for the Receivership Entities. On May
5    24, 2018, all Defendants were served with the summons, complaint, TRO, and Temporary
6    Receivership Order.
7          15.       On May 30, 2018, the Court entered the Permanent Receivership Order
8    (together with the Temporary Receivership Order, collectively, the “Receivership
9    Order”). The Defendants consented to the entry of the Permanent Receivership Order.
10         16.       On June 6, 2018, the Court entered orders approving the Receiver’s decision
11   to employ H&K as legal counsel, and Kroll Cyber Security, LLC (“Kroll”) as a forensic
12   and investigative consultant, to assist him in carrying out his duties as the Receiver. H&K
13   and Kroll began working on this matter on or about May 23, 2018.
14                        V.   SUMMARY OF SERVICES PROVIDED
15         17.       H&K has assisted the Receiver with all aspects of his duties in this case
16   during the First Application Period. As set forth in more detail in the Receiver’s Initial
17   Status Report for Receivership Estate of Titanium Blockchain Infrastructure Services,
18   Inc., filed on June 25, 2018 (the “Initial Status Report”), the Receiver and his advisors
19   have focused most of their efforts on investigating, identifying, collecting, and preparing
20   an inventory of assets of the Receivership Entities. The principal assets recovered include
21   cryptocurrency, U.S. currency, electronic data, and physical assets such as computer
22   equipment.
23         18.       On May 24, 2018, the Receiver and his legal counsel, together with the
24   assistance of Kroll, were able to seize and search computer equipment, mobile phones and
25   other electronic devices belonging to the Receivership Entities and interview Mr. Stollery
26   and certain of his associates at their offices in Sherman Oaks, California and Springfield,
27   Oregon.
28         19.       Through that search and those interviews, the Receiver identified and took
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1    control of certain cryptocurrency assets. In addition, the Receiver collected other assets at
2    the Sherman Oaks site and from an office site in Springfield, Oregon that had been leased
3    on behalf of Titanium.
4           20.       Additional actions in which H&K has assisted the Receiver include, but are
5    not limited to, the following:
6           a. Establishing a Receiver website and redirecting the DNS for http://tbis.io, email
7                 address (TBISReceiver@gmail.com), so that Titanium’s investors and other
8                 creditors can receive information pertaining to the receivership;
9           b. Identifying cryptocurrency wallets and/or accounts controlled by the
10                Defendants and containing the cryptocurrencies bitcoin, Bitcoin Cash, Ether,
11                Litecoin, Dash, Electroneum, ZCash, BAR and TBAR, and either transferring
12                the cryptocurrency to wallets controlled by the Receiver or causing third party
13                custodial agents to freeze such accounts;
14          c. Taking control of Titanium’s U.S. Bank account and having the entire account
15                balance transferred to an account established by the Receiver;
16          d. Taking control of Titanium’s Chase Bank account and requesting that the entire
17                account balance be transferred to an account established by the Receiver;
18          e. Securing access to Mr. Stollery’s safe deposit box and the retrieval of relevant
19                information and assets from same;
20          f. Reviewing Titanium’s provisional patent application and GitLab account, and
21                conducting telephone interviews with Titanium’s chief technology officer, to
22                evaluate the current value of intellectual property and Titanium as a going
23                concern;
24          g. Engaging Kroll to inventory and image computers and phones collected from
25                Titanium’s offices in Sherman Oaks, California, and Springfield, Oregon;
26          h. Interviewing Titanium’s chief operating officer regarding business operations
27                and matters pertaining to theft of virtual currencies from the Defendant
28                Titanium;
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1             i. Obtaining information from special agents with the Secret Service and Federal
2                   Bureau of Investigations regarding the theft of virtual currencies from the
3                   Defendant Titanium;
4             j. Securing personal property owned or leased by Titanium at both of its offices;
5             k. Changing the locks at both commercial offices of the Defendant Titanium;
6             l. Negotiating with commercial landlords to secure the termination of Titanium’s
7                   leases;
8             m. Serving written notices on cryptocurrency exchanges and other third parties to
9                   locate additional assets, including certain overseas exchanges;
10            n. Analyzing payroll and employment matters, including status of employment tax
11                  payments; and
12            o. Terminating the employment of employees of Defendant Titanium.
13            21.       Each of these tasks was reasonably necessary to identify and secure assets of
14   the Receivership and to work on identifying additional assets for recovery.
15                                     VI.    FEE APPLICATION
16            22.       During the First Application Period, H&K professionals have provided
17   services to the Receiver for the benefit of the Receivership Entities with a value of
18   $144,369.52, and incurred reimbursable expenses in the amount of $72,171.51,4 for a total
19   of $216,541.03 in actual fees and expenses. Pursuant to paragraph XVII of the Permanent
20   Receivership Order, fees and costs for the Receiver and all others retained to assist him in
21   the administration and liquidation of the estate are capped at $125,000 for the initial 30
22   days of the receivership. H&K has therefore reduced its fees by $91,541.03, and through
23   this Application, H&K requests entry of an Order approving the remaining fees in the
24   amount of $52,828.49, and reimbursable expenses in the amount of $72,171.50, for a total
25   of $125,000 (the “Fees”) on an interim basis.
26
27
28   4
         These expenses include $66,451.25 for forensic services rendered by Kroll and invoiced to H&K.
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1          23.       This Application is the first fee application that H&K has submitted in this
2    matter. Accordingly, no prior orders have been entered as to any interim applications, no
3    amounts have been allowed or disallowed, and no payments have been made to H&K.
4          24.       Through this Application, H&K further requests entry of an Order
5    authorizing the Receiver to make payment to H&K in the amount of $125,000.
6          25.       The names, hours worked, hourly billing rates, and total fees of all H&K
7    professionals who have billed time to this matter, excluding the Receiver, are listed in the
8    attached Exhibit B. Standard H&K hourly billing rates have been discounted by 15%.
9    Travel time has been billed at 50% of H&K’s standard hourly billing rates in accordance
10   with the Billing Instructions, and those reduced rates have been further discounted by
11   15%. In accordance with the Fee Cap, H&K’s actual fees for the First Application Period
12   have been further reduced by $91,541.03.
13         26.       In further accordance with the Billing Instructions, H&K professionals have
14   separately categorized their services by task. The attached Exhibit C summarizes the
15   respective number of hours incurred relative to each task category during the First
16   Application Period.
17         27.       The services rendered by H&K are itemized fully in the contemporaneously
18   maintained electronic time records attached hereto as Exhibit D.
19         28.       An itemization of reasonable and reimbursable expenses incurred by H&K at
20   the levels set forth in accordance with the Billing Instructions, including a copy of the
21   Kroll invoice included among those expenses, is attached hereto as Exhibit E.
22                      VII.    ARGUMENTS AND AUTHORITIES IN
23                                SUPPORT OF FEE APPLICATION
24         29.       The district court's “power to supervise an equity receivership and to
25   determine the appropriate action to be taken in the administration of the receivership is
26   extremely broad.” S.E.C. v. Hardy, 803 F.2d 1034, 1037 (9th Cir. 1986). That broad
27   authority “arises out of the fact that most receiverships involve multiple parties and
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                                        5
1    complex transactions.” Id.             This “extremely broad” discretion “includes awards of
2    receivership fees, including attorneys’ fees.” Securities and Exchange Commission v.
3    Wang, 2015 WL 12656904, at *3 (C.D. Cal., Feb. 17, 2015, No. CV 13-7553 JAK (SS)),
4    citing In re San Vincente Medical Partners Ltd., 962 F.2d 1402, 1409 (9th Cir. 1992)
5    (“The award of receivership fees in an SEC action is analogous to the award of
6    receivership fees in bankruptcy proceedings, and we review the district court’s award for
7    an abuse of discretion.”).
8             30.       Decisions regarding the timing and amount of an award of fees and costs are
9    committed to the sound discretion of the Court. See Drilling & Exploration Corp. v.
10   Webster, 69 F.2d 416, 418 (9th Cir. 1934) (“The court appointing the receiver has full
11   power to fix the compensation of such receiver and the compensation of the receiver’s
12   attorney or attorneys.”); SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992) (rev'd in part
13   on other grounds, 998 F.2d 922 (11th Cir. 1993)); Quilling v. Trade Partners, Inc., 572
14   F.3d 293, 301 (6th Cir. 2009) (“[T]he district court has wide discretion in distributing
15   receivership assets.”); Securities and Exchange Commission v. Wang, 2015 WL
16   12656904, at *1; SEC v. Small Business Capital Corp., 2014 WL 3920320, at *2 (N.D.
17   Cal. Aug. 7, 2014).
18            31.       An award of interim fees may be appropriate where, like here, a receiver or
19   the professionals employed by the receiver “regularly devote[] a portion of his time, either
20   daily or weekly, to the administration of the estate[.]” In Re McGann Mfg. Co., 188 F.2d
21   110, 112 (3d Cir. 1951) (interim fees to bankruptcy trustee or his counsel).
22            32.       In allowing fees, a court should consider “the time, labor and skill required,
23   but not necessarily that actually expended, in the proper performance of the duties imposed
24   by the court upon the receiver[], the fair value of such time, labor and skill measured by
25   conservative business standards, the degree of activity, integrity and dispatch with which
26   the work is conducted and the result obtained.” United States v. Code Prods. Corp., 362
27
     5
      See also Id. at 1037 (Recognizing that “case law involving district court administration of an
28   equity receivership (once the receivership is underway) is sparse…”).
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1    F.2d 669, 673 (3d Cir. 1966) (internal quotation marks omitted). In practical terms,
2    receiver and professional compensation thus ultimately rests upon the result of an
3    equitable, multi-factor balancing test involving the “economy of administration, the
4    burden that the estate may be able to bear, the amount of time required, although not
5    necessarily expended, and the overall value of the services to the estate.” In re Imperial
6    400 Nat'l, Inc., 432 F.2d 232, 237 (3d Cir. 1970). Regardless of how this balancing test is
7    formulated, no single factor is determinative and “a reasonable fee is based [upon] all
8    circumstances surrounding the receivership.” SEC v. W.L. Moody & Co., Bankers
9    (Unincorporated), 374 F.Supp. 465, 480 (S.D. Tex. 1974). Generally, the starting point is
10   to multiply the number of hours expended by an hourly rate. Southwestern Media, Inc. v.
11   Rau, 708 F.2d 419, 427 (9th Cir. 1983) (bankruptcy case). The hourly rate is based on the
12   rate the professional would charge for comparable service in other matters. Id.
13         33.       “As a general rule, the expenses and fees of a receivership are a charge upon
14   the property administered.” Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994). These
15   expenses include the fees and expenses of the Receiver’s professionals, including H&K.
16         34.       In support of the application, H&K submits the above-referenced Exhibits A-
17   D for the Court’s review, along with the Certification of Jose Casal addressing the
18   reasonableness of the rates charged and hours billed by professionals at H&K.
19         35.       H&K has charged fees that are 15% less than the standard billing rates for
20   the professionals working on this matter, and those fees are at or below customary fees
21   charged by like professionals in their respective markets. H&K has billed all reimbursable
22   expenses at their actual costs with no mark-up added, and they are not seeking overhead
23   charges. Further, pursuant to the Fee Cap, H&K’s actual fees for the First Application
24   Period have been further reduced by $91,541.03—which is an additional 63% discount.
25         36.       As set forth above and in the Initial Status Report, H&K has assisted the
26   Receiver in performing various tasks that have added value to the Receivership Entities.
27   Each task was staffed and performed as efficiently as possible. The fees and expenses
28
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1    sought in this Application are reasonable and were necessary for the proper administration
2    of the Receiver’s duties.
3                                    VIII.    CONCLUSION
4          H&K therefore respectfully requests that this Court enter an Order:
5        (i)         Allowing, on an interim basis, fees in the amount of $52,828.49 and
6                    reimbursement of expenses in the amount of $72,171.51, for total
7                    compensation of $125,000 pursuant to the Fee Cap;
8       (ii)         Authorizing and directing the Receiver to make payment to H&K in the
9                    amount of $125,000; and
10     (iii)         Directing such other and further relief as the Court deems appropriate.
11
12   Dated: February 28, 2019                  Respectfully submitted,
13                                             /s/ Jose Casal
                                               Jose Casal (pro hac vice)
14
                                               Kristina S. Azlin (SBN 235238)
15                                             Holland & Knight LLP
                                               Counsel for Josias N. Dewey, Court-appointed
16                                             permanent receiver for Defendant Titanium
17                                             Blockchain Infrastructure Services, Inc.
18
                                               Attorneys for Josias Dewey, Court-appointed
19                                             Receiver for Receivership Entities
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